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COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, SS SUPERIOR COURT DEPARTMENT

CIVIL ACTION NO. Q0TYCNOO SSO D

ROBERT BELCHER
ZARINA BELCHER
PLAINITFFS,

vs.

 

BANK OF NEW YORK, MELLON
SELECT PORTFOLIO SERVICING, ING
ORLANS, PC

JOHN DOES 1 - 10
DEFENDANTS

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COMPLAINT

JURISDICTION

 

1. Venue is proper in Suffolk County, as the actions complained of
occurred in Suffolk County. Further, the plaintiff is a resident of 590
Truman Highway in Hyde Park, Massachusetts, within Suffolk
County and all of the defendants regularly conducted business
within Suffolk County, within the Commonwealth of Massachusetts.
This Court has jurisdiction over this matter pursuant to the State
Constitution and statutes and the Massachusetts Rules of Civil
Procedure.

2 THE PREMISES

1.A single family Residence located at 590 Truman Highway, Hyde Park, MA 02136.
The Iwner is the plaintiff Robert Belcher. It is described in Certificate of Title No
117651 LOT #: 14 SO at Suffolk County REGISTRY OF DEEDS, PLAN BOOK 584 page
51. The Original mortgage date was December 22, 2005. The real estate located in
Hyde Park, Suffolk County in the Commonwealth of Massachusetts, is occupied by the
plaintiff and his family, and has been occupied continuously by the plaintiff since 1990,

is hereinafter referred to as the "Premises."

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THE PARTIES

Plaintiff, Robert Belcher (hereinafter “BELCHER”), is a permanent resident
of Massachusetts, and resides at 590 Truman Highway, Hyde Park, Suffolk
County, in the Commonwealth of Massachusetts, the premises, as referred

to above.

Defendant, BANK OF NEW YORK, MELLON (“BANKNY”) on information and belief is
seats Banking Conglomerate, with its Principal place of Business at 240

Gre enwich Street, New York, NY 10286 and claims to be the Trustee which
allegedly is a lender or Holder in Due Course of the instant original

mortgage and or original note. Through its wholly-owned or controlled
subsidiaries, its partner and\or joint ventures or its agents or servants, regularly
transacts or transacted business within the Commonwealth of Massachusetts, and
specifically did so as to the acts and transactions underlying the claim of the
plaintiff herein.

Defendant, SELECT PORTFOLIO SERVICES, Inc. ("SPS") on information and belief,
is a mortgage servicing corporation providing residential mortgage servicing to
Banks with its Principal place of Business at 3217 Decker Lake Drive, Salt Lake
City, Utah 84165. Either directly or through its predecessor(s) in interest, its wholly-
owned or controlled subsidiaries, its partners and\or joint ventures’, or its agents or
servants, regularly transacts or transacted business within the Commonwealth of
Massachusetts, and specifically did so as to the acts and transactions underlying
the claims of the plaintiff herein.

Defendant, ORLANS PC (“OPC”), on information and belief, is a law firm in Waltham,
Massachusetts and is the agent of some or all of the defendants and its various
entities, and is a Licensed to practice law in Massachusetts, with a Principal place
of|/Business at 465 Waverly Oaks Road, Waltham, Massachusetts 02452, and the
acts or transactions that are the subject of this Complaint took place within this
Commonwealth of Massachusetts.

As to Defendants John Does 1 ~ 10, Plaintiff does not know the true names,
capacities, or basis for liability of Defendants sued herein as John Does 1 through
10, inclusive, as each fictitiously named Defendant is in some manner liable to
Plaintiff, or claims some right, title, or interest in the Property. Plaintiffs will
amend this Complaint to allege their true names and capacities when ascertained
through discovery. Plaintiff is informed and believes and herein alleges that at all
relevant times mentioned in this Complaint, each of the fictitiously named
Defendants are responsible in some manner for the injuries and damages to
Plaintiff so alleged and that such injuries and damages were proximately caused
by such Defendants, and each of them.
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7. Plaintiffs are informed and believes and thereon allege that at all times herein
mentioned, jointly and severally, each of the Defendants were the agents,
employees, servants and/or the joint-ventures of the remaining Defendants, and
each of them, and in doing the wrongdoings alleged herein below, were acting
within the course and scope of such agency, employment and/or joint venture to
one or all of the defendants.

HISTORY OF THE TRANSACTIONS

| represent myself, Robert Belcher, in regard to my re-financed mortgage loan,
allegedly originally granted by CHASE, (which was my only knowledge at the
time of the granting of the mortgage) and subsequently allegedly assigned to
MERS and then to BANK OF NY or other unknown (to me) lenders, and also the
mortgage was assigned to more than one mortgage servicing agency. I am
without a clue, after 15 years, as to the identity of the Holder in Due Course of
the original “Mortgage” or the original “Note” that was signed by me at the
closing held on December 22, 2005. I was not experienced in a “closing” on
the mortgaging of real estate, and trusted the lender to be doing the right
thing. | was not given a copy of the documents | had just signed at the closing.
I was informed that a copy would be sent to me a “few” days later. It has been
muc | more than a few days, and I have yet to receive a certified copy of those
original documents bearing my signature. | have asked for certified copy of the
original documents more than one hundred times, and an attorney representing
my interest has asked three times in writing, as well as telephonically. All 1
have jever received is documents that have been fraudulently assembled. For
example page 1 of the copies of the originals adjustable rate rider is often
different, depending only on the date it was sent to me. The totality of the
document becomes meaningless when pages are shifted and replaced by
additions and replacement pages that are not originals.

| purchased separately the land that the house is situated on. | have lived in my
family home since October 1990, after being lent the money for construction
buy a now defunct credit union.

Originally, in November of 2005, | was sent to CHASE by a mortgage originator
agent. I was also attracted to CHASE because it seemed that a large national
and world-wide banking institution was a bank I could trust.

 
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Upon speaking with the loan originator r of CHASE, | learned that my credit
was allegedly not stellar, (according to the loan originator) and that CHASE
couldionly "qualify" me for a very high interest loan with a “subsidiary” of
CHASE. The mortgage was for $412,000.00.

 

CHASE allegedly got the loan approval even though CHASE knew or should
have known that the BELCHER did not have the resources to pay the regular
paymprte CHASE nevertheless went ahead with the mortgage transactions,
beca ise CHASE representatives represented to BELCHER that BELCHER would
be able to organize his finances to make it possible to make payments on
time, and then BELCHER would be able to get a lower interest “regular” loan.

CHASE knowingly, willfully, and fraudulently misrepresented to Belcher, a
vulnerable person (unsophisticated in matters such as mortgage loans) {Aren't
we all?) to whom CHASE owed a heightened duty of fiduciary care’ that,

provi | ed BELCHER made his payments on time each month, BELCHER would
Oly after a one-year period for a "regularly amortizing loan at prevailing
interest rates”. In reliance upon this material representation, BELCHERs

enter d into this first mortgage loan transaction with, ALLEGEDLY, CHASE.

To avoid losing his family home, which BELCHER has now shared with his
family for over 30 years, BELCHER made and notated each and every payment
to CHASE agents for the first approximately twenty-four months. BELCHER
lived with the fear that he could lose his home, and with the hope that he could
save it, with CHASE’s promised help to refinance, in a year.

But when it was time to put the “regular” loan in place, CHASE seemed unable
to do anything for BELCHER, even though the BELCHER had lived up to his end
of the agreement. The representative of CHASE, insisted that BELCHER
continue to make his regular mortgage payments each month at the high
“interest only” payments, and no new mortgage was presented at prevailing
rates, with an amortized payment schedule. Finally, long after the two years
had ended, the interest rate was precipitously raised, and BELCHER could no
longer keep making the high payments, and fell somewhat behind in his
mortgage payments.

Now BELCHER began to hear from CHASE about a new and different
“prevailing rates" loan. BELCHER took notes every time any representative of
the lender (CHASE) called and BELCHER listened helplessly as those
representatives manipulated the terms and misrepresented the process.
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Around this time (late 2007) BELCHER began to receive foreclosure threat
notices from CHASE. The notices were designed solely to intimidate and
frighten BELCHER and were procedurally and substantively ineffective. Each
notice sent indicated that a foreclosure and exercise of power of sale would
imminently occur.

When|BELCHER reminded CHASE of the agreement, BELCHER received a letter
from CHASE that said "sorry you feel let down, we cannot help you, as your
loan has been assigned to “MERS”. BELCHER, to this day, has no idea who
MERS i is and upon information in belief does not believe that MERS was ever a
proper “Holder in Due Course” of his original Mortgage and original note.
Apparently CHASE or other lenders in the background had allegedly transferred
their interest in the loan.

Thus, In 2007, BELCHER fell behind, and CHASE or MERS, allegedly the new
holder of the original mortgage and note regarding the premises, began a
relentless four year pursuit of BELCHER’s home. BELCHER was unable to

dete | ine who the proper Holder in Due Course was at that time. BELCHER
subsequently wrote to CHASE and MERS several times asking simply for proof
that GHASE or MERS had the original note and original mortgage on BELCHER’s
prop ity. Neither CHASE or MERS ever responded to BELCHER’S plea for proof
of who actually was a Holder in Due Course of his original mortgage and
original note.

On Ar ril 26, 2010 an Assignment of Mortgage was sent to BELCHER notifying
him tl at the mortgage was then assigned to BANYNY as Trustee for the
certificate holders of Structured Asset Mortgage Investments II Trust 2006-
AR4 Mortgage Pass-Through Certificates, Series 2006-AR4.

The effective date of that Assignment had been December 8, 2009. Apparently
BELCHER was not notified of the Assignment until four months after it was
effective. And, query, how does a Trust formed after the date of the mortgage
get to Holder in Due Course so many months after the original mortgage was
granted and the original note signed, allegedly by CHASE. There had been no
mention at the closing of Structured Asset Mortgage Investments I Trust 2006-
AR4 Mortgage Pass-Through Certificates, Series 2006-AR4 at the closing, nor
at any time during the first five years of the mortgage. It is understandable that
the tructured Asset Mortgage Investments II Trust 2006-AR4 Mortgage Pass-
Throt gh Certificates, Series 2006-AR4 wasn’t mentioned at the closing
because it didn’t exist at the time of the closing.

Finally, in August 2011, BELCHER sought the advice of Attorney Tony Blaize of
Boston, Massachusetts, regarding the issue of proper proof of ownership of the
original note and mortgage regarding the premises. Attorney Blaize agreed
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with BELCHER that he shouldn’t pay anybody until an entity stepped up and
proved ownership of the original note and original mortgage for the property.
Attorney Blaize, in August of 2011, wrote two letters to EMC (then the
mortgage servicing agency, wholly owned by CHASE, and now defunct) asking
for certified copies of the original note and original mortgage. EMC, through
CHASE only sent an unsigned copy (allegedly the proof) of ownership of the
“9riginal note” and “original mortgage”.

 

Again, in August of 2012, Attorney Blaize requested for the third time that EMC
again |send a certified copy of the “origina! note” and “original mortgage” with
regard to the premises. EMC responded by sending different copies to
BELCHER’s attorney. In addition they allegedly sent the original “closing”
paperwork that had not ever been disclosed to BELCHER, (which is required by
Federal laws protecting consumers from the misbehavior of banks and their
closing representatives. That paperwork contains fabrications on the
settlement statement because it shows two different settlement sheets, which
make|the entire package dubious and also included UNSIGNED documents.

Since that time, BELCHER has sent numerous certified letters to SPS (the
mortgage servicing agent now assigned by BANKNY asking for the original
mortgage and original note, which would represent proof of someone being a
Holder in Due Course of the original mortgage and original note on the
premises.

Yet, BELCHER has been advised by an attorney that the assignment to
BANKNY cannot be valid, because MERS was never allowed to assume the role
of lender. In addition, MERS has been sued hundreds of thousands of times by
consumers throughout the United States and by the Attorney’s Generals of all
fifty states and by the Federal Government, and lost, found to have never been
a true assignee in all the times it had claimed to be the true assignee.

In fact, BELCHER received a settlement from a class action won by the
Attorney General of Massachusetts for predatory lending practice.

If arguendo, MERS had no legal right to become a Holder in Due Course, then
everything after they became an assignee, should be found to be invalid. Thus,
BELCHER claims that BANKNY could have never received an assignment from
MERS because they were not a true Holder in Due Course.

BELCHER argues that the entire transaction, carried out on December 22,
2005) has always been clouded by improprieties of CHASE, MERS, BANK OF

 
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INDIANAPOLIS, BANK NEW YORK, MELLON, EMC, and after 2014 by SELECT
PORTFOLIO SERVCIING AND ORLANS, PC.

BELCHER, upon information and belief, states that while fifteen years has
passed since this transaction, the last thirteen years there has been no serious
attempts to collect from BELCHER, no earlier attempts at foreclosure, is
arguably proof that the above named entities all knew or should have known
that the transaction was flawed from the beginning.

BELCHER, upon information and belief, states that the Structured Asset
Mortgage Investments II Trust 2006-AR4 Mortgage Pass-t Certificates, Series
2006-AR4, was apparently the only true Holder in Due Course and litigated
against the lenders, and won their claims, for selling them worthless
mortgages.

BELCHER, upon information and belief, states that the lenders who have since
claimed to be Holder’s in Due Course had insurance coverage for those losses
accrued from Structured Asset Mortgage Investments II Trust 2006-AR4
Mortgage Pass-Through Certificates, Series 2006-AR4 and revered from those
insurers and were made whole. Thus any attempt by a lender to foreclose on
the premises reflects another attempt by those entities to recover for the third
time, | hich represents a windfall to the claimed lenders or Holders of Due
Course.

BELCHER also argues, upon information and belief that the attorney who is
handling the threatened foreclosure, knew or should have known of all the
above referenced conduct of his client as the number of claims filed against
lenders like his client is staggering. Yet he sits there participating in a
foreclose he knew was unscrupulous, and greatly benefitting his client at the
expense of an unsophisticated minority, hard-working. Ordinary American
homeowner.

To this day, not one entity has ever proven that they in fact are the Holder in
Due Course of the “original mortgage” and “original note” regarding the
premises.

Now, |after a total of 13 years of no mortgage payments having been made by
BELCHER, BANKNY, the alleged Trustee, through its mortgage servicing
agency, SELECT PORTFOLIO SERVICING, INC and it lawyers ORLANS, PC is
attempting to hold an foreclosure auction.

 
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GENERAL ALLEGATIONS

This is an action brought by Plaintiff for declaratory judgment, injunctive
and equitable relief, and for compensatory, special, general and punitive
damages.

Plaintiff, homeowner, disputes Defendants’ superior colorable claim to
legal title and equitable title of the Prime Market Real Property in

que stion (hereafter, the “Premises”), which is the subject of this instant
action. Plaintiff, arguably, is the owner of the property by Deed of Trust.

From 1998 until the financial crash of 2008-2009, over 60 million
purported consumer credit mortgage loan transactions were purportedly
sold by Non-Depository payor Banks to Special Purpose Vehicles
(hereinafter “SPV”).

Plaintiffs are informed and believe, and thereon allege that Defendants
participated in a transactional scheme whereby a purported Tangible
Note is converted/exchanged for a Payment Intangible asset to provide an
aiternative investment offering via Special Deposit to certificate or bond
holders which were expected to be relatively safe; which, were offered by
Wall Street Firms to the secondary market through purported mortgage
backed securities. \

Defendants PREDESSOR IN INTEREST deployed MERS as an
electronic agent under the Constructive Deed of Trust as
nominee/beneficiary for each successor Defendant as bailor/bailee to
streamline a purportedly hypothecated security interest “Secret Liens”
over the Payment Intangible after acquired collateral unlawfully
construed as “Proceeds” of Plaintiffs’ Real Property.

Plaintiff is informed and believes, and thereon allege that MERS only
tracks and updates ownership of the Payment Intangible registered with
the MERS database software system; MERS cannot transfer the beneficial
right to the Tangible Accommodated Note instrument; a legitimate “True
Sale” of a Tangible Note instrument can only be transferred in an ordinary
course of business by proper negotiation for full value, transfer and
delivery by operation of all applicable law.

Plaintiff is informed and believes, and thereon allege that payment for
full value of the entire instrument was executed in an ordinary course of
business from on or about December 22, 2005 to present. There are no
documents or records Defendants can produce that demonstrate that
prior to on or about December 22, 2005, the closing date for Asset
Mortgage Investments II Trust 2006-AR4 Mortgage Pass-Through
Certificates, Series 2006-AR4 was fully 6 months after the loan was made

 

 
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the Tangible Note was duly endorsed, transferred and delivered to Asset Mortgage
Investments I] Trust 2006-AR4 Mortgage Pass-Through Certificates, Series
2006-AR4 in an ordinary course of business by operation of all applicable law,
including all intervening transfers including any purported transfers in the personal
property Payment Intangible. Nor can any documents or records be produced that
demonstrate that prior to the on or about December 22, 2005, the Deed of Trust was
duly assigned, transferred and delivered to Asset Mortgage Investments II Trust

2006-AR4 Mortgage Pass-Through Certificates, Series 2006-AR4.
via the Custodian of Records, JPMORGAN CHASE., including all Secret Liens
purportedly securing the Payment Intangible intervening transfers/assignments.

15.Plaintiff further alleges that any documents i.e. a later 2010 MERS
Assignment of Deed of Trust that purport to transfer a hypothecated
beneficial security interest over the Payment Intangible underlying
collateral of the Tangible Note or Bill of Exchange to Asset Mortgage
Investments ll Trust 2006-AR4 Mortgage Pass-Through Certificates, Series
2006-AR4 after the Closing Date February 1, 2006, are void as a matter of
law; no security interest in the Real Property was perfected in the name of
any of the successor Defendants. The alleged holder of the Tangible Note
is not the beneficiary of the Deed of Trust. The alleged beneficiary of
Plaintiffs’ Deed of Trust, MERS, did not have the requisite title, perfected
security interest or standing to proceed in a foreclosure; and/or is not the
real party in interest as agent or nominee to any action taken or to be
taken against the Real Property by any SUCCESSOR Defendants.

16. Plaintiff is informed and believes, and thereon alleges that at all times
herein mentioned, any assignment of a Deed of Trust without proper
transfer in an ordinary course of business of the Tangible Note that it
secures is a legal nullity by operation of law.

17.Plaintift i is informed and believes, and thereon alleges that the Asset
Mortgage Investments II Trust 2006-AR4 Mortgage Pass-Through
Certificates, Series 2006-AR4 had no officers or directors and no
continuing duties other than to hold assets and to issue the series of
certificates of herein below.

18. Plaintiff alleges that Defendants, and each of them, cannot establish
possession, show proper receipt, transfer, negotiations, assignment and
ownership of the Tangible Note or Deed of Trust, resulting in imperfect
security interests and claims; therefore, none of the Defendants have
perfected any colorable claim of title or security interest in the Real
Property.

19.Defendants, and each of them, cannot establish that the Deed of Trust
purportedly securing the Tangle Note, were legally or properly acquired in
accordance to all applicable law. Plaintiffs therefore allege, upon
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information and belief, that none of the parties to transaction, nor any of
the Defendants in this case, hold a perfected and secured claim in the
Real Property; and that all Defendants are equitably estopped and
precluded from asserting an unsecured claim against Plaintiffs’ estate.

20. Plaintiff alleges that an actual controversy has arisen and now exists
between the Plaintiff and Defendants, and each of them.

21.Plaintiff desires a judicial determination and declaration of its rights about
the Real Property and the corresponding Tangible Note and Deed of Trust.

22. Plaintiff also seeks redress from Defendants identified herein for
damages, for other injunctive relief, and for cancellation of written
instruments based upon:

a. An invalid and unperfected security interest in Plaintiffs’ Real
Property hereinafter described;

b. Void “True Sales;”

c. An incomplete and ineffectual perfection of a security interest in
Plaintiffs’ Real Property

23. (Plaintiffs are the Superior Recorded owners of the Prime Market
Property Grant Deed.

24, lon or about December 22, 2005, Plaintiff executed a negotiable
promissory note and a security interest in the form of a mortgage in the
amount of $412,000.00.

25. |The December 22, 2005 negotiable promissory note and mortgage was
recorded on December 22, 2005 in BK 46598 PG 405 of the Official
Records of Suffolk County, Massachusetts.

26. |The original lender of the promissory note and beneficiary of the
mortgage is TO BE DETERMINED.

27. |Upon information and belief, MERS is not named as the payee of the
December 22, 2005 negotiable promissory note and mortgage but is
named as acting solely as a “nominee” for the lender as the beneficiary of
the security interest Security Deed.

28. | The purported Mortgage loan contracts between the parties are
specific as to the duties of each party.

29. | MERS failed to record any Assignment of Deed of Trust in the Suffolk
County Recorder’s Office.

 

The December 22, 2005 negotiable promissory note was sold, transferred, assigned
and securitized into the Asset Mortgage Investments II Trust 2006-AR4 Mortgage
Pass-Through Certificates, Series 2006-AR4 with a closing date of April 16,
2016

 
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30. On June 30, 2008, a Corporation Assignment of Mortgage was
recorded in BK 584 PG 51 of the Official Records, Suffolk County as
instrument number 713600 to Bank New York, Mellon. as Trustee.

31. The June 30, 2008 Corporation Assignment of Mortgage was

unfawfully signed by Mary Cook as Vice President of MERS without
disclosure of her true employment working for the Assignee, not the
Assignor.

32. Upon information and belief, Mary Cook fraudulently signed as Vice
President of MERS without disclosure of her employment by Assignee
agent MERS.

33. [The signature of Mary Cook (from the ROBO signing scandal) is an
indication that MERS attempted to conceal the assignment of the
mortgage to client Bank New York, Mellon. without an Assignor.

34. |The April 26, 2010 Corporation Assignment of Mortgage is an illegal
unilateral transfer and void.

35. (|There is no evidence in the April 26, 2010 Corporation Assignment of
Mortgage of any verified proof of funds; a note endorsement; a bill of sale;
a declaration of value; or transfer taxes as having been paid to Suffolk

County, Massachusetts "for value received" for this $412,000 security
interest.

36. On January 20, 2020, approximately 15 years and one months had
expired since the December 22, 2005 negotiable promissory note was
placed into the Asset Mortgage Investments II Trust 2006-AR4 Mortgage
Pass-Through Certificates, Series 2006-AR4.

37. On June 30, 2008, approximately two years and four months had
expired since Asset Mortgage Investments II Trust 2006-AR4 Mortgage
Pass-Through Certificates, Series 2006-AR4 Closing Date of April 20, 2006.

38. |On April 26, 2010, an Assignment of Mortgage was recorded in BK 584
PG 51 of the Official Records, Suffolk County as instrument number
71 3600to Bank New York, Mellon. as Trustee for Asset Mortgage
Investments II Trust 2006-AR4 Mortgage Pass-Through Certificates, Series
2006-AR4.

39. /Plaintiffs allege that only the Depositor, Asset Mortgage Investments II
Trust 2006-AR4 Mortgage Pass-Through Certificates, Series 2006-AR4 is the
rightful party that can convey the asset into the trust pursuant to investor
offering documents as filed with the Securities and Exchange

commission.

 
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COUNT ONE
ROBERT BELCHER V ALL DEFENDANTS
LACK OF STANDING/WRONGFUL FORECLOSURE

 

40. Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

41 An actual controversy has arisen and now exists between
Plaintiff and Defendants specified hereinabove, regarding their
respective rights and duties, in that Plaintiff contends that
Defendants and each of them, do not have an equitable right to
foreclose on the premises.

 

42. Defendants, each of them, have failed to perfect any
security interest in the real property collateral, or cannot prove to
the court they have a valid interest as a real party in interest to the
underlying Deed of Trust.

43. Thus, the purported power of sale, or power to foreclose
non-judicially, by the above specified Defendants, and each of them,
never applied.

44. (Plaintiffs request this Court find that the purported power of sale
contained in the Deed of Trust is a nullified by operation of law’

 

45. |Defendants’ actions in the processing, handling and attempted
foreclosure of this this transaction involved numerous fraudulent,
false, deceptive and misleading practices, including, but not limited
to, violations of State laws designed to protect borrowers, which
has directly caused Plaintiffs to be at an equitable disadvantage to
the combined defendants.

46. |For this reason, as well as the other reasons set forth herein
above and below, defendants cannot transfer an interest In Real
Property, and cannot recover anything from Plaintiff because of
their combined lack of standing to foreclose on the premises.
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47. Asa direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT TWO
ROBERT BELCHER V ALL DEFENDANTS
FRADULENT CONVEYANCE

48. (Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

49. Pursuant to State law, one must be able to prove their capacity
of Holder of the Tangible Note as one with rights acquired in an
ordinary course of business to perfect the transfer of enforcement
co} tract rights to the Deed of Trust instrument as collateral for a
Tangible Note debt obligation.

50. (Without proper negotiation and physical transfer, the “true sale”
of the Tangible Note is invalid as a fraudulent conveyance, or as an
unsecured Tangible Note stripped of the Real Property collateral.

51. (Defendants failed to submit documents to the plaintiff's
numerous requests for same, thus they cannot assume the role as
nominee beneficiary for the Originator, to assign the subject Deed
of Trust to the any of the defendants.

52. Hence, defendants lack authority as an alleged nominee
beneficiary to foreclose on Plaintiffs’ Deed of Trust, making any
assignment from a predecessor in interest totally defective.

53. |Any attempt by defendants to transfer the beneficial interest of a
trust deed without actual ownership of the underlying Tangible Note
attached together in one with the underlying Payment Intangible
Transferable Record, is void under law.

54. |As a direct and proximate result of the above referenced

misconduct of Defendants, its agents, servants or employees,
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plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT THREE
ROBERT BELCHER V. ALL DEFENDANTS
ABUSE OF PROCESS

55. Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

56. he defendants by attempting to foreclose without any real
interest in the property, is without justification to bring any such
action.

57. he foreclosing parties .,...
“standing” to foreclose).

58. Therefore, Defendants cannot establish that they are entitled to
assert a claim in this case.

59. ps a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

(that it has

prove it owns plaintiff's loan

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT FOUR
ROBERT BELCHER V. ALL DEFENDANTS
UNCLEAN HANDS
60. [Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.
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61. he defendant’s wrongful behavior in making false statements
andi submitting fraudulent documents marks the defendant’s status
as jacting with “Unclean Hands”.

62. or this reason, as well as the other reasons set forth herein
above and below, the defendants cannot transfer an interest in real
property, and cannot recover anything from Plaintiff because of
their combined unclean hands.

63. efendants, and each of them, through the actions alleged
above, claim the right to illegally commence foreclosure sale of
Plaintiffs’ real property under the Deed of Trust on the real property
via an in-rem action supported by false or fraudulent documents.

64, s a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered Joss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT FIVE
ROBERT BELCHER V. ALL DEFENDANTS
FRAUD

65. laintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

66. Defendant, through its agents, servants or employees,
fraudulentiy misrepresented and substituted certain items of
information to be included in the documents sent by the defendants
in response to the plaintiffs’ requests.

67. hose documents, substitutes for the actual documents evidence
the defendant’s fraudulent compilation of allegedly “real and
original application for a loan for the purchase of the premises.

68. When Defendants allowed their agents, servants or employees to
engage In fraudulent behavior in the in the arranging substitutes of
the documents, allegedly of the original real estate loans that are
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the subject of this lawsuit the various lenders, the defendants knew
or should have known that those agents, servants and or employees
were regularly engaged in fraud.

69. ecause defendants had notice of the ongoing fraud, it therefore
is subject to the claims of the Plaintiff concerning the fraud.

70. Said fraud, done by the combined defendants, those defendants
knew or should have known about the fraud and that fraud has
directly and proximately caused the Plaintiff to continue to have a
loan obligation with monthly Payments resulting in lost principal
rightly due the Plaintiff, out-of-pocket expenses, emotional and
Psychological harm and other consequential damages.

71. As a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an arnount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT SIX
ROBERT BELCHER V. ALL DEFENDANTS
NEGLIGENCE

72. Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

73. Defendants, between 2014 and the present have negligently
handled the alleged transactions between the parties.

74, (The defendants have negligently sent to the plaintiff dozens of
differing, claiming them to be original copies of the original
mortgage and the original note and the original note rider, but all of
the documents differs in substantive ways.

75. Ss a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-

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pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

WHEREFORE the Plaintiff demands judgment, jointly and severally, against all

of the

Defendants in an amount that will fairly and adequately compensate

Plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT SEVEN
ROBERT BELCHER V. ALL DEFENDANTS
UNJUST ENRICHMENT

 

76.

Plaintiff repeats and incorporates by reference, each and every

allegation contained above as if expressly re-written and set forth
herein.

TT.

On information and belief all of the defendants’

Express purpose of accelerating and foreclosing the real-

Estat

mortgage loan in the Commonwealth, including the

Foreseeable Acceleration and foreclosure against the
Plaintiff was for unscrupulous financial gain to each of the Defendants.

78.

79.

80.

By defrauding the plaintiff, all of the defendants, or its agents,
servants or employees will have been enriched, without
justification and only as a result of its fraud, if the
foreclosure is allowed to proceed.

Upon information and belief, the underlying lender litigated
against JP MORGAN CHASE, the original Trustee, and won
the litigation and thus the alleged current trustee, the
defendant Bank New York, Mellon has no interest in the
property and is simply attempting to enrich itself by
obtaining the plaintiffs interest.

All defendants had a duty, both in common law and pursuant to

 

various state and Federal statutes and regulations, to
properly supervise and control the activities of it assignees
and agents so as to prevent those activities from causing

~ injury to persons in the Commonwealth, including the
| plaintiff.
81. All the defendants negligently, carelessly and recklessly

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Supervised and managed the activities of its assignees,
agents and servants, so as to permit its assignees,

eee and servants, to commit oppressive, deceptive and/or
Unfair acts and practices upon persons in the Commonwealth,
Such jas the plaintiff, which transactions would financially?
Benefitted all of the defendants and their agents, servants,
Officers or employees.

82. (All of the defendants, its officers, agents, servants or employees,
had actual or constructive knowledge of the activities of its
agents, servants or employees, that were causing or would
likely cause, or had caused injury to persons in the
Commonwealth, such as the plaintiff.

83. |As a direct and proximate result of the negligence of all

The defendants Plaintiff incurred damages, including the

Threatened loss of the home which had housed his family for

Over thirty (30) years, caused emotional distress, physical

Harm and other psychological damages, out-of-pocket

Expenses and other damages.

 

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT EIGHT
ROBERT BELCHER V. ALL DEFENDANTS
FALSE AND MISLEADING REPRESENTATIONS
15 U.S.C. 1692E

84. | Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth

 

herein.

85. Tau of the Defendant’s systemic practices rise to the level of false

or misleading representations under the plain definition of those
words and have misled and harmed the plaintiff.

86. | All of the defendants have engaged in these systematic false and
misleading representations not only to the Plaintiff, but to others,
including the public.
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87. S a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

WHEREFORE the Plaintiff demands judgment, jointly and
severally, against all of the Defendants in an amount that will
fairly and adequately compensate plaintiff for plaintiffs’
damages, Plus interest and costs.

COUNT NINE
ROBERT BELCHER V. ALL DEFENDANTS
INTENTIONAL MISREPRESENTATION

88. (Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth herein.

89. (|Defendant’s agents, servants or employees intentionally made
fraudulent statements and submitted fraudulent documents to the
plaintiff, and those statements and documents concerned some fact that
a reasonable person would consider important to any decision that the
plaintiff was about to make.

90. (When the defendant's agent, servants or employees intentionally made
the statements or provided the fraudulent documents, the defendant
either knew or should have known that the statements or the documents
were false or negligently made by willfully disregarding the truth or falsity.
91. The defendants, or its agents, servants or employees
intentionally made the false statements and provided the fraudulent
documents with the intention that the plaintiff would rely on those
statements or documents in making his decision.

921 In making the plaintiff's decision, plaintiff did in fact rely on the
defendant's agents, servants or employee’s intentional statements and
fraudulent documents as true, and that reliance by plaintiff was
reasonable under the circumstances.

93 As a direct and proximate result of the above referenced
intentional misconduct of Defendants, its agents, servants or
employees, plaintiff has suffered loss of money or property in the
form of out-of-pocket expenses, severe emotional, physical, and
psychological harm, consequential and other damages.

 
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WHEREFORE the Plaintiff demands judgment, jointly and
severally, against all of the Defendants in an amount that will
fairly and adequately compensate plaintiff for plaintiffs’
damages, plus interest and costs.

COUNT TEN
ROBERT BELCHER V. ALL DEFENDANTS
NEGLIGENT MISREPRESENTATION

94. Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth herein.

95. Defendant’s agents, servants or employees negligently made
fraudulent statements and submitted fraudulent documents to the
plaintiff, and those statements and documents concerned some fact that
a reasonable person would consider important to any decision that the
plaintiff was about to make.

96. (When the defendant’s agent, servants or employees negligently made
the statements or provided the fraudulent documents, the defendant
either knew or should have known that the statements or the documents
were false or negligently made by willfully disregarding the truth or falsity.

97. |Fhe defendants, or its agents, servants or employees negligently made
the false statements and provided the fraudulent documents with the
intention that the plaintiff would rely on those statements or documents in
making his decision.

98. [In making the plaintiff's decision, plaintiff did in fact rely on the
defendant's agents, servants or employee’s negligent statements and
fraudulent documents as true, and that reliance by plaintiff was
reasonable under the circumstances.

99. |As a direct and proximate result of the above referenced
negligent misconduct of Defendants, its agents, servants or
employees, plaintiff has suffered loss of money or property in the
form of out-of-pocket expenses, severe emotional, physical, and
psychological harm, consequential and other damages.

 

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT ELEVEN

 
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ROBERT BELCHER V. ALL DEFENDANTS
FALSE OR MISLEADING REPRESENATIONS
15 U.S.C.A.1125 (a)

 

100. Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

101. Defendant’s systemic practices rise to the level of false or
misleading representations under the plain definition of those words
and have misled and harmed the plaintiff.

102. [Defendants have engaged in these systematic false and
misleading representations not only to the Plaintiff, but to others,
including the public.

103. |As a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT TWELVE
ROBERT BELCHER V. ALL DEFENDANTS
SLANDER OF TITLE

104, |Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

105. |Defendant’s communication with several third parties throughout
the period of 2014 until the present regarding the plaintiff and the
premises.

106. | The defendants over that time period of 2014 to present made
several false statements and produced many false documents.

107. | Defendants, by withholding such facts have potentially
committed a grave error and caused the Slander of Title.

 
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108. The act of recording the purported Defendant’s Assignment of
Deed of Trust into the Official Records of the Suffolk County
Recorder's Office is a communication to a third party of a false
statement derogatory to Plaintiffs’ title made with malice causing
special damages to the Plaintiffs’ claim of title.

109. Plaintiffs should be the equitable owner of the Subject Property.

110. Plaintiffs seek to quiet title as of the date of the filing of this
Complaint.

111. Plaintiffs seek a judicial declaration that the title to the Subject
Property is vested in Plaintiff alone and that the Defendants be
declared to have no interest estate, right, title or interest in the
subject property and that the Defendants, their agents and assigns,
be|/forever enjoined from asserting any estate, right title or interest
in the Subject Property subject to Plaintiffs’ rights.

112. ‘As a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT THIRTEEN

BELCHER V ALL DEFENDANTS
QUIET TITLE

113. Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

114. |All Defendants’ named herein claim an interest and estate in the
property is adverse to Plaintiffs in that Defendants asserts they are
owner(s) of the note secured by the Deed of Trust to the property
the subject of this suit.

115. |All Defendants named herein claims an interest and estate in the
Real Property adverse to Plaintiff in that Defendants’ asserts to be
the owner of Tangible Note secured by the Deed of Trust to the Real
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Property, the subject of this suit.

116. The claims of all Defendants are without any legal right
whatsoever, and Defendants have no estate, title, lien or interest in
or to the Real Property, or any part of the Real Property.

117. The claim of all Defendants herein named, and each of
them, claim some estate, right, title, lien or interest in or to the
property adverse to Plaintiffs’ title, and these claims constitute a
cloud on Plaintiff's title to the Real Property.

118. Plaintiff therefore alleges upon information and belief, that
none of the Defendants in this case hold a perfected and secured
claim in the real property; and that all Defendants be estopped and
precluded from asserting an unsecured claim against Plaintiffs’ Real
Property.

119. As a direct and proximate resuit of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT FOURTEEN
ROBERT BELCHER V ALL DEFENDANTS
BREACH OF FIDUCIARY DUTY

120. Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

121. |The defendants have all committed violations of the plaintiffs’
right to a duty of full disclosure by sending the plaintiff fraudulent
alleged copies of alleged “real” documents.

122. | All defendants violated the covenant of good faith and fair
dealing.

123. All defendants were in violation of their duty of Misuse of

 
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superior or influential position.

124. All defendants’ failed to act in plaintiffs’ best interest.

125. Given that the defendants have breached, misused or failed in all
of those allegations, they all breached their fiduciary duty to the
plaintiff.

126. las a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT FIFTEEN
ROBERT BELCHER V. ALL DEFENDANTS
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

127. Plaintiff repeats and incorporates by reference, each and
every allegation contained above as if expressly re-written and set
forth herein.

128. The defendants, through its agents, employees and/or
servants have engaged in a pattern of intentional outrageous and
extreme conduct that goes beyond the bounds of human decency
against the plaintiff.

129. The defendants, through its agents, employees and/or
servants, carried out an ongoing behavior pattern that far surpassed
mere insults, annoyances, indignities and other trivialities.

130. The behavior of the defendants, through its agents,
employees and/or servants was far beyond outrageous and extreme
conduct and went far beyond the bounds of common human
decency and was so egregious that a reasonable and prudent
human being such as the plaintiff was unable to tolerate such
conduct.

131. The behavior of the defendants, through its agents,
employees and/or servants was atrocious and beyond all bounds
tolerated in a civilized society.

 
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“ The actions of the defendants, or its agents, employees
and/or servants were clearly intentional and malicious and were

done solely for the purpose of causing the Plaintiff to suffer
humiliation, mental anguish and emotional and physical distress.
133. As a proximate result of defendant’s intentional acts, or that
of its agents, employees and/or servant’s the Plaintiff has been
humiliated, embarrassed, emotionally distressed, and has been
severely injured in both mind and body.

WHEREFORE the Plaintiff demands judgment, jointly and severally
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT SIXTEEEN
ROBERT BELCHER V. ALL DEFENDANTS
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

134. |Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

135. |The defendants, through its agents, employees and/or servants
has engaged in a pattern of negligent outrageous and extreme
conduct that goes beyond the bounds of human decency against the
plaintiff.

136. | The defendants, through its agents, employees and/or servants,
carried out an ongoing negligent behavior pattern that far surpassed
mere insults, annoyances, indignities and other trivialities.

137. |The negligent behavior of the defendants, through its agents,
employees and/or servants was far beyond outrageous and extreme
conduct and went far beyond the bounds of common human
decency and was so egregious that a reasonable and prudent
human being such as the plaintiff was unable to tolerate such
conduct.

138. | The negligent behavior of the defendants, through its agents,
employees and/or servants was atrocious and beyond all bounds
tolerated in a civilized society.

139.| The negligent actions of the defendants, or its agents, employees
and/or servants were clearly negligent and malicious and were done

 
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solely for the purpose of causing the Plaintiff to suffer humiliation,
mental anguish and emotional and physical distress.

140. ‘As a proximate result of defendant’s negligent acts, or that of its
agents, employees and/or servant’s the Plaintiff has been humiliated,
embarrassed, emotionally distressed, and has been severely injured
in both mind and body.

WHEREFORE the Plaintiff demands judgment, jointly and severally
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT SEVENTEEN
ROBERT BELCHER V. ALL DEFENDANTS
INVASION OF PRIVAVCY

 

141. |Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

142. |Upon information and belief, Defendants have regularly invaded
the Privacy of the Plaintiff by constantly intruding in all of the
Plaintiff's affairs — through accessing his credit accounts, discussing
the Plaintiffs private account issues with others and continually
issuing derogatory statements regarding the Plaintiff which were
false.

143. [Defendants regularly invaded the Privacy of the Plaintiff by putting
the Plaintiff in a false light, continuously and maliciously throughout
the entire period of his numerous applications for Modification and
throughout Bankruptcy and beyond. The wrongful behavior began in
201 8, when Defendants completely abused the plaintiffs’ personal
information and has continued to the present.

144, | As a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.
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WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT TWENTY
ROBERT BELCHER V. ALL DEFENDANTS
VIOLATION OF THE FEDERAL FAIR DEBT COLLECTION ACT

145. |Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

146. |Defendants have continuously dunned the plaintiff regarding
allegedly overdue balances.

147. |Such harassment as committed by all of the defendant's agents,
servants or employees, acting on behalf of the defendants as
alleged in the paragraphs above, are in violation of the Federal Fair
Debt Collection Practices Act, 15 U.S.C.S. sec 1692.

As a direct and proximate result of the above referenced misconduct

of Defendants, its agents, servants or employees, plaintiff has suffered

loss Of money or property in the form of out-of-pocket expenses, severe
emotional, physical, and psychological harm, consequential and other
damages.

 

WH (EFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT TWENTY ONE
ROBERT BELCHER V. ALL DEFENDANTS
VIOLATION OF THE FEDERAL FAIR CREDIT REPORTING ACT

148. | Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

149. | All of the Defendant's actions in failing to remove references to
the plaintiffs alleged delinquent account(s) from the three national
credit reporting agencies represents a gross violation of the Federal
Fair Credit Reporting Act.

 
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150. | All the defendants knew or should have known that the plaintiff
had raised his concerns that by their not removing the alleged debt(s)
from the three national credit reporting agencies would cause great
harm to the plaintiff.

151. |As a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

 

WHEREF ORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT TWENTY TWO
ROBERT BELCHER V. ALL DEFENDANTS
VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT

152. | Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

153. | On August 20, 2019, plaintiff sent the 93A demand [efter (exhibit
A) to all the defendants, alleging the unfair acts and practices
committed by all the defendants or firms in the instant transaction(s)
are divisible into the those very five categories:

(a) per se violations of the Federal Consumer Credit

Protection Act;

{b) Per se violations of laws of the Commonwealth of
Massachusetts meant for the protection of the
Plaintiff's welfare;

(c) Failure to disclose facts which may have influenced the
Borrower not to enter into the transaction(s); and

(d) Oppressive and otherwise unconscionable conduct.

(e) Per Se Violations of the Federal Consumer Credit
Protection Act

 
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154. As a result of Defendants’ (either themselves or through
their agents, servants or employees) unfair and deceptive acts and
practices, Belcher has suffered injury including the loss of the
credit account, has suffered from an impaired credit rating, has had
credit applications turned down on several occasions because of
the derogatory credit reports made by the combined defendants
(either themselves or through their agents, servants or employees),
and Belcher has been held up to public ridicule and humiliation in
his community both personally and professionally, and has suffered

| - . .
severe emotional and physical distress, all as a result of the

 
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Malicious, wanton, and willful reckless behavior of the above named
defendants.

155. |All of the defendants were engaged in trade or business af all
times relevant hereto and in all acts and events referred to herein.
156. |The acts or practices referred to herein occurred primarily within

the Commonwealth of Massachusetts.

157. |The Defendant’s act of attempting to foreclose on the Mortgage
is/was in violation of the provisions of the Massachusetts General
Laws, and thus a per se violation of the Consumer Protection Act.

158. | As a direct and proximate result of the unfair and deceptive
practices of all the Defendants, their agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, emotional, physical, and psychological harm, and
other consequential damages.

 

WHEREFORE the Plaintiff demands judgment, jointly and severally,

against all of the Defendants in an amount that will fairly and adequately

compensate plaintiff for plaintiffs’ damages, plus interest and costs.

(A) Award plaintiff his actual damages;

(B) Double or treble plaintiff's actual damages pursuant to the
Consumer Protection Act;

(C) Award reasonable attorney's fees plus interest and costs;

(D) Award such other relief as the Court deems just and proper.

COUNT TWENTY THREE
BELCHER V ALL DEFENDANTS
DECLARATORY RELIEF

159.| Plaintiff repeats and incorporates by reference, each and every

allegation contained above as if expressly re-written and set forth
herein.

160. By Declaring that any of the Defendants lack any interest in the
subject property which would permit them to foreclose, evict, or
attempt to foreclose or evict, the trust deed and/or to sell the
subject properties.

161.| By Declaring that the trust deed is not a lien against the subject
properties, ordering the immediate release of the trust deed of
record, and quieting title to the subject properties in Plaintiff and
against Defendants and all claiming by, through or under them.

 
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162. | A refund of any wrongfully or improperly collected fees and
payments to Defendants to which it had no right.

163. | Pre- and post-judgment interest at the maximum rate allowed by
law.

164. |Attorney’s fees.

165. | Such other and further relief at law and/or in equity to which
Plaintiff may be justly entitled including but not limited to damages
within the jurisdictional limits of this Court, together with pre-
judgment and post-judgment interest as are allowed by law.

COUNT TWENTY FOUR
ZARINA BELCHER V. ALL DEFENDANTS
INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

166. | Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

167. |The defendants, through its agents, employees and/or servants
have engaged in a pattern of intentional outrageous and extreme
conduct that goes beyond the bounds of human decency against the
pl: intiff.

168. | The defendants, through its agents, employees and/or servants,
carried out an ongoing behavior pattern that far surpassed mere
insults, annoyances, indignities and other trivialities.

169./ The behavior of the defendants, through its agents, employees
and/or servants was far beyond outrageous and extreme conduct
and went far beyond the bounds of common human decency and
was so egregious that a reasonable and prudent human being such
as the plaintiff was unable to tolerate such conduct.

170.) The behavior of the defendants, through its agents, employees
and/or servants was atrocious and beyond all bounds tolerated in a
civilized society.

171.| The actions of the defendants, or its agents, employees and/or
servants were clearly intentional and malicious and were done
solely for the purpose of causing the Plaintiff to suffer humiliation,
mental anguish and emotional and physical distress.

172.) As a proximate result of defendant’s intentional acts, or that of its
agents, employees and/or servant’s the Plaintiff has been humiliated,

 
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embarrassed, emotionally distressed, and has been severely injured
in both mind and body.

WHEREFORE the Plaintiff demands judgment, jointly and severally
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT TWENTY FIVE
ZARINA BELCHER V. ALL DEFENDANTS |
NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

173. | Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

174. | The defendants, through its agents, employees and/or servants
has engaged in a pattern of negligent outrageous and extreme
conduct that goes beyond the bounds of human decency against the
plaintiff.

175.| The defendants, through its agents, employees and/or servants,
carried out an ongoing negligent behavior pattern that far surpassed
mere insults, annoyances, indignities and other trivialities.

176.| The negligent behavior of the defendants, through its agents,
employees and/or servants was far beyond outrageous and extreme
conduct and went far beyond the bounds of common human
decency and was so egregious that a reasonable and prudent
human being such as the plaintiff was unable to tolerate such
conduct.

177.| The negligent behavior of the defendants, through its agents,
employees and/or servants was atrocious and beyond all bounds
tolerated in a civilized society.

178.; The negligent actions of the defendants, or its agents, employees
and/or servants were clearly negligent and malicious and were done
solely for the purpose of causing the Plaintiff to suffer humiliation,
mental anguish and emotional and physical distress.

179.| As a proximate result of defendant’s negligent acts, or that of its
agents, employees and/or servant's the Plaintiff has been humiliated,
embarrassed, emotionally distressed, and has been severely injured
in both mind and body.

 
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WHEREFORE the Plaintiff demands judgment, jointly and severally
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT TWENTY Six
ZARINA BELCHER V. ALL DEFENDANTS
INVASION OF PRIVAVCY

180. (Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

181. |Upon information and belief, Defendants have regularly invaded
the Privacy of the Plaintiff by constantly intruding in all of the
Plaintiffs affairs — through accessing his credit accounts, discussing
the Plaintiffs private account issues with others and continually
issuing derogatory statements regarding the Plaintiff which were
false.

182. | Defendants regularly invaded the Privacy of the Plaintiff by putting
the Plaintiff in a false light, continuously and maliciously throughout
the entire period of his numerous applications for Modification and
throughout Bankruptcy and beyond. The wrongful behavior began in
2005, when Defendants completely abused the plaintiff's personal
information and has continued to the present.

183.| Defendants have regularly invaded the Privacy of the Plaintiff by
recording telephone calls, without notice, of the Plaintiff making calls
to the Defendants at Defendant’s regular places of business.

184. | As a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT TWENTY SEVEN
ZARINA BELCHER V. ALL DEFENDANTS

 
Case 1:20-cv-10511-IT Document 1-1 Filed 03/12/20 Page 34 of 53

VIOLATION OF THE FEDERAL FAIR DEBT COLLECTION ACT

185. [Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

186. |Defendants have continuously dunned the plaintiff regarding
allegedly overdue balances.

187. Such harassment as committed by all of the defendant’s
agents, servants or employees, acting on behalf of the defendants
as alleged in the paragraphs above, are in violation of the Federal
Fair Debt Collection Practices Act, 15 U.S.C.S. sec 1692.

188. |Such harassment as committed by all of the defendant’s agents,
servants or employees, acting on behalf of the defendants as
alleged in the paragraphs above, are in violation of the Federal Fair
Debt Collection Practices Act, 15 U.S.C.S. sec 1692.

189. As a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

 

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

COUNT TWENTY EIGHT
ZARINA BELCHER V. ALL DEFENDANTS
VIOLATION OF THE FEDERAL FAIR CREDIT REPORTING ACT

190.; Plaintiff repeats and incorporates by reference, each and every
allegation contained above as if expressly re-written and set forth
herein.

191.| All of the Defendant’s actions in failing to remove references to
the plaintiffs alleged delinquent account(s) from the three national
credit reporting agencies represents a gross violation of the Federal
Fair Credit Reporting Act.

 
Case 1:20-cv-10511-IT Document 1-1 Filed 03/12/20 Page 35 of 53

192. | All the defendants knew or should have known that the plaintiff
had raised his concerns that by their not removing the alleged debt(s)
from the three national credit reporting agencies would cause great
harm to the plaintiff.

193. |As a direct and proximate result of the above referenced
misconduct of Defendants, its agents, servants or employees,
plaintiff has suffered loss of money or property in the form of out-of-
pocket expenses, severe emotional, physical, and psychological
harm, consequential and other damages.

WHEREFORE the Plaintiff demands judgment, jointly and severally,
against all of the Defendants in an amount that will fairly and adequately
compensate plaintiff for plaintiffs’ damages, plus interest and costs.

PRAYER

Plaintiff, Robert Belcher prays that Defendants be cited to
appear and answer herein, and that upon final hearing,
Plaintiffs be awarded judgment as follows:

A. That this Honorable Court rescind the transaction(s) between
the parties;

B. That this Honorable Court order any and all defendants to remove
from all credit reporting agencies, any reference to the
transaction(s) and any entry reflecting negatively to Robert
Belcher;

C. That this Honorable Court order Payment of One Million Dollars
($1,000,000.00) as compensation for the Intentional and
Negligent Infliction of Emotional Distress caused to Robert
Belcher over the duration of the complained of wrongdoing of any
or all of the defendants.

D, That this Honorable Court order Payment of One Million Dollars
($1,000,000.00) as compensation for the outrageous Invasion of
Privacy of Robert Belcher over the duration of the complained of

| wrongdoing of all of the defendants.

 
F.

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That this Honorable Court order Payment of One Million Dollars
($1,000,000.00) as compensation for the bad Credit rating Robert
Belcher has suffered as a result of all the above-named entities,
and his subsequent inability to obtain financing on several
different occasions;

That this honorable Court order Payment of One Million Dollars
($1,000,000.00) to Robert Belcher for all other claims, whether in
Tort, Contract or Chapter 93A or the violation of Federal Statutes
and Federal Regulations.

 

Plaintiff, Zarina Belcher prays that Defendants be cited to appear and
answer herein, and that upon final hearing, Plaintiffs Zarina Belcher be
awarded judgment as follows:

G.

 

That this Honorable Court order any and all defendants to remove
from all credit reporting agencies, any reference to the
transaction(s) and any entry reflecting negatively to Zarina
Belcher;

. That this Honorable Court order Payment of One Hundred

Thousand Dollars ($100,000.00) as compensation for the
Intentional and Negligent Infliction of Emotional Distress caused
to Zarina Belcher over the duration of the complained of
wrongdoing of any or all of the defendants.

That this Honorable Court order Payment of One Hundred
Thousand Dollars ($100,000.00) as compensation for the
outrageous Invasion of Privacy of Zarina Belcher over the
duration of the complained of wrongdoing of all of the
defendants.

. That this Honorable Court order Payment of One Hundred

Thousand Dollars ($100,000.00) as compensation for the bad

Credit rating Zarina Belcher has suffered as a result of all the
above-named entities, and her subsequent inability to obtain

financing on several different occasions.

PLAINTIFFS REQUEST A JURY TRIAL

THE PLAINITFFS

 
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Case 1:20-cv-10511-IT Document 1-1 Filed 03/12/20 Page 37 of 53

PLAINITFFs
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Park, MA 02136

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Truman Highway
2 Park, MA 02136
290 6315

 
| Case 1:20-cv-10511-IT Document 1-1 Filed 03/12/20 Page 38 of 53 '
| BOCKET NUMBER ,
CIVIL ACTION COVER SHEET Trial Court of Massachusetts |

QO - O SSO PD The Superior Court

PLAINTIFF(S): . Y £ Ra COUNTY ~
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BBO:
TYPE OF ACTION AND TRACK DESIGNATION (see reverse side)
TYPE OF ACTION oe TRACK HA: JURY CLAIM BEEN MADE?
oc?
\w ott cha sur, YES [] no

I
here a claim under G.L. c. 93A7 Is this a class action ugder Mass. R. Civ. P. 237
YES [-] No [_] YES Brio

STATEMENT OF DAMAGES PURSUANT TO GL. c. 212, § 3A

The following is a full, itemized and detailed statement of the facts on which the undersigned plaintiff or ptaintiffs counsel relies to determine money damages.
For this form, disregard double or treble damage claims; indicate single damages only.

TORT CLAIMS

(attach additional sheets as necessary)
A. Documented medical expenses to date:
1. Total hospital expenses .. sueennaeeeensrsenaseneeenennnanecensaa eee sistneasnaaeeennenetenrag Lisenasttneersienegnetenoescensg ngeessseantysaneasceveaasnesspeasenneeseamenens
2. Total doctor expenses .....ccee

3. Total chiropractic EXPENSES @o.cececeecsesssseeeceeeeretaserenesereseensetaasens

4. Total physical therapy expenses ............
5. Total other expenses (describe below)

 

B. Documented lost wages ANd COMpeEnsalion tO date ...............ccccsscceeses seeesesscenseesssnceessensenessscancendscscesessecsteesersseesraneusassennsslsensspnesanaceeseaseanenaes
C. Documented property damages to date
D. Reasonably anticipated future medical and hospital expenses ..
E. Reasonably anticipated lost wages .. we
F, Other documented ~ of damages (describe below) ...

 

 

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AS os & FF Oct (attach additional sheets as necessary) Vw (awe of KEG Ar

[ } This action includes a claim involving collection of a debt incurred pursuant to a revolving credit agreement. Mass. R. Civ. P. 8.1(a).
Provide a detailed description of claim(s):

TOTAL: $

Signature of Attorney/ Unrepresented Plaintiff: X : pf , Date: 7/227, f 2g

 

RELATED ACTIONS: ONE C the case number, “cate fat ab ani Ha any ‘TaedSelions pending in the Superior Céurt.

 

CERTIFICATIGN PURSUANT TO SJC RULE 1:18

! hereby certify that | nave complied with requirements of Rule 5 of the Supreme Judicial Court Uniform Rules on Dispute Resolution (SJC
Rule 4:18) requiring that | provide my clients with information about court-connected dispute resolution services and discuss with them the
advantages and disadvantages of the various methods of dispute resolution.

 

at

 

Signature of Attorneyjof Record: X Date:

 

|
Case 1:20-cv-10511-IT Document 1-1 Filed 03/12/20 Page 39 of 53

 

COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, SS SUPERIOR COURT DEPARTMENT
CIVIL ACTION NO. 2084 CV 00550

ROBERT BELCHER )
ZARINA BELCHER )
)

PLAINITFFS,

vs. } “~
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BANK OF NEW YORK, MELLON ) me S 2a
Ee Te
SELECT PORTFOLIO SERVICING, INC ) ZA ~m me
Bm wo 2s
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ORLANS, PC ) 25 U 35
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DEFENDANTS

EMERGENCY PETITION FOR TEMPORARY
RESTRAINING ORDER AND/OR PRELIMINARY
INJUNCTION.

COMES NOW, Plaintiff ROBERT BELCHER, pro se,
(hereafter “Plaintiff) and files for an Emergency
Petition for Temporary Restraining Order and/or
Preliminary Injunction, against the listed Defendants.

A temporary restraining order is appropriate to
maintain the status quo. Plaintiff's home of 30 years

will be sold on March 3, 2020 and Plaintiff and his
family will be evicted and left homeless by that
action, without immediate intervention from this

Court.

A.THE PREMISES

|

 

 
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1. aA single family residence located at 590 Truman Highway, Hyde
Park, MA 02136. The Owner is the plaintiff Robert Belcher. It is
described in a certificate of Title No 117651 LOT #: 14 SO at Suffolk
County REGISTRY OF DEEDS, PLAN BOOK 584 page 51. The Original
mortgage date date was December 22, 2005. The real estate located in
Hyde Park, Suffolk County in the Commonwealth of Massachusetts, is
occupied by the plaintiff and his family, and has been occupied
continuously by the plaintiff since 1990, is hereinafter referred to as the HH
"Premises."

B. THE PARTIES

2. Plaintiff Robert Belcher is now, and at all times relevant to this action, is
an Individual who was a resident of the County of Suffolk, State of
Massachusetts. At all times relevant to this action, Plaintiff was the listed
owner of the premises located at 590 Truman Highway, Hyde Park 02136 (the

“Premises”).

3. Plaintiff, Robert Belcher (hereinafter “BELCHER”), is a permanent
resident of Massachusetts, and resides at 590 Truman Highway, Hyde
Park, Suffolk County, Massachusetts 02136.

4. Defendant, BANK OF NEW YRRK, MELLON (“BANKNY”) on information _ | 1
and belief is an International Banking Conglomerate, with its Principal
place of Business at 260 Greenwich Street, New York, NY and claims to.
be the Trustee which allegedly is a lender or holder in due course of
the instant mortgage and or note. Through its wholly-owned or
controlled subsidiaries, its partner and\or joint venturers or its agents or
servants, regularly transacts or transacted business within the
Commonwealth of Massachusetts, and specifically did so as to the acts
and transactions underlying the claim of the plaintiff herein.

5. Defendant, SELECT PORTFOLIO SERVICES, INC ("SPS") on information
and belief, is a mortgage servicing corporation providing residential
mortgage servicing to Banks and has a Principal place of Business at |_| ||
3217 Decker Lake Drive, Salt Lake City, Utah 84165. Either directly or
through its predecessor(s) in interest, its wholly-owned or controlled
subsidiaries, its partners andlor joint venturers, or its agents or servants,
regularly transacts or transacted business within the Commonwealth of |
Massachusetts, and specifically did so as to the acts and transactions
underlying the claims of the plaintiff herein.

 

 
6.

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Defendant, ORLANS PC (“OPC”), on information and belief, is a law firm
in Waltham, Massachusetts and is the agent of some or all of the

defendants and its various entities, and is a Licensed to practice law in
Massachusetts, with a Principal place of Business at 465 Waveriy Oaks

Road, Waltham, Massachusetts 02452, and the acts or transactions that |

are the subject of this Complaint took place within this Commonwealth
of Massachusetts.

As to Defendants John Does 1 - 10, Plaintiff does not know the true
names, capacities, or basis for liability of Defendants sued herein as
John Does 1 through 10, inclusive, as each fictitiously named
Defendant is in some manner liable to Plaintiff, or claims some right,
title, or interest in the Property. Plaintiffs will amend this Complaint to
allege their true names and capacities when ascertained through
discovery. Plaintiff is informed and believes and herein alleges that at
all relevant times mentioned in this Complaint, each of the fictitiously
named Defendants are responsible in some manner for the injuries and
damages to Plaintiff so alleged and that such injuries and damages
Were proximately caused by such Defendants, and each of them.

Plaintiffs are informed and believes and thereon allege that at all times herein '

. mentioned, jointly and severally, each of the Defendants were the agents,

employees, servants and/or the joint-ventures of the remaining Defendants,
and each of them, and in doing the wrongdoings alleged herein below, were
acting within the course and scope of such agency, employment and/or joint
venture to one or all of the defendants.

INTRODUCTION

Plaintiff requests the decree to temporarily and permanently
enjoin Defendants, and each of them, and all persons claiming
under them, from asserting any adverse claim to Plaintiffs’ title

to the property. 4
ft

10.Said unlawful non-judicial foreclosure action has caused and

‘continues to cause Plaintiff great and irreparable injury in that
the real property is unique, and was designed and built by him in
1989-1990.

11. The wrongful conduct of the above specified Defendants, and

each of them, unless restrained and enjoined by an Order of the

 

 
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Court, will continue to cause great and irreparable harm to
Plaintiffs. Plaintiffs will not have the beneficial use and
enjoyment of the home and will lose the property.

12. Plaintiffs have no other plain, speedy or adequate remedy and
the injunctive relief prayed for below is necessary and
appropriate to prevent irreparable loss to Plaintiffs.

13. Plaintiffs suffered and will continue to suffer unless Defendants’
wrongful conduct is restrained and enjoined because real
property is inherently unique, and it will be impossible for
plaintiffs to determine the precise amount of damage it will
suffer.

14. The wrongful conduct of the above specified Defendants, and
each of them, unless restrained and enjoined by an Order of the
Court, will continue to cause great and irreparable harm to
Plaintiff. Plaintiff will not have the beneficial use and enjoyment
of the Home and will lose the Property.

THE STANDARD FOR INJUNCTIVE RELIEF

Pursuant to Rule 65, a moving party must show that 1) Irreparable
harm will result in the absence of an injunction or restraining order;
and 2) That the moving party has a likelihood of success on the merits.
Baptist Heatth v. Murphy, 226 SW 3d. 800 (Sup. Ct. 2006).

IRREPARABLE INJURY

Foreclosing on Plaintiffs’ home without allowing a full
determination on the merits of Plaintiffs’ claim will cause irreparable
injury to Plaintiff and his family and cause substantial harm far
outweighing the potential injury to Defendants should the injunction be
granted.

Plaintiffs’ home is unique and non-fungible. It is where
memories, both good and bad are made. It was designed and built
according to his family’s taste and likes. Home defines who we are,
what we were and what we can be. There are no two homes alike.

Allowing Defendants to pursue foreclosure while Plaintiffs’ case is
pending deprives Plaintiffs of all this, and more. Without a home,

 

 
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Plaintiff will not be able to fully and adequately prosecute the claims
against Defendants and in turn, allows Defendants to continue their
nefarious, predatory practices against Plaintiff and others similarly
situated.
PLAINTIFF IS LIKELY TO PREVAIL
ON THE MERITS AT TRIAL

The foreclosure sale and any further transfer of ownership or
encumbrance must be enjoined because the evidence demonstrates
that plaintiff will succeed on the merits aft trial.

Plaintiff alleges and supports through affidavits and exhibits,
causes of action against Defendants that will show Defendants do not
have any legal right to foreclose on Plaintiff's Real Property.

An actual controversy has arisen and now exists between
Plaintiff and Defendants regarding their respective rights and duties.
Plaintiffs contend that the Note and Deed of Trust were not transferred |
or assigned pursuant to the governing PSA or New York Law. Plaintiff
also alleges that Defendants committed fraud in the inducement and
concealment at the initiation of the loan, and the fraud continues to
the present day.

A judicial declaration is necessary and appropriate under the
circumstances so that Plaintiff may determine the rights, obligations
and duties owed by Defendants and whether those duties were
adhered to.

At the very basis of Plaintiff's.Complaint, based upon the facts
outlined herein and in the Complaint, Plaintiff alleges and can
demonstrate at trial that Defendants breached their status as a real
holder in interest and through misrepresentation are about to
foreclose on plaintiff's real property and that because of the
securitization process, Defendants and their predecessors in interest
failed to properly assign Plaintiff's Note and Deed of Trust in
compliance with State law and Federal Law governing the original
loan.

NOTICE TO DEFENDANTS

 

 

 
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Plaintiff hereby verifies that he has attempted to provide notice
to all Defendants that the Complaint, the Emergency Petition for
Temporary Restraining Order and/or Preliminary Injunction, And
Declaratory Relief was going to be filed on or before the foreclosure
date.

Specifically, Plaintiffs have made the following efforts in good
faith and with full diligence: The instate defendant, Orlans, PC will be
served within 48 hours by Middlesex County Constable Bob Sweeney
of Cambridge. The out of state defendants will be served pursuant to
Massachusetts Long Arm Statute by certified mail within 48 hours.

If the Court sees fit to order the TRO as requested by the
plaintiff, the law firm that is slated to conduct the foreclosure on
March 6, 2020, will be served, in hand, by the plaintiff as soon as the
TRO is issued today.

PRAYER
WHEREFORE, Plaintiff requests that this Honorable Court order
as follows: -
A. A temporary restraining order, a preliminary injunction, and a
permanent injunction enjoining Defendants, Defendants’
agents, attorneys, and representatives, and all persons acting

in concert or participating with them, from selling, attempting |

to sell, or causing to be sold the property, either under the
power of sale in the Deed of Trust or by foreclosure action
until this matter is fully adjudicated in a court of competent
jurisdiction;

B. If a temporary restraining order is granted ex parte, to set this
Application for hearing on the merits prior to the expiration of
the ex parte temporary restraining order; and

C. Any further relief that the court may deem just and equitable.

D. A proposed order is attached hereto, should the Court honor
the plaintiffs request/

ROBERT BELCHER

 

 

 
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THE PLAINTIFF, PRO SE

590 ae HWAY |

HYDE PARK, MA 02136
617 290 6315

DATE: FEBRUARY 27, 2020

 

 
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COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, SS SUPERIOR COURT DEPARTMENT
CIVIL ACTION NO. 2084 CV 00550

ROBERT BELCHER )

ZARINA BELCHER )
PLAINITFFS, )

VS.

BANK OF NEW YORK, MELLON

SELECT PORTFOLIO SERVICING, INC

ORLANS, PC

JOHN DOES 1 - 10
DEFENDANTS

ORDER
TEMPORARY RESTRAINING ORDER

Upon Motion, and after notice and hearing, the
Court finds and rules that immediate and irreparable injury,
loss, or damage will result to Robert Belcher unless this
Temporary Restraining Order is granted ex parte. Therefore,
defendants and their officers, agents, servants, employees,
and attorneys, and those persons in active concert or
participation with them who receive actual notice of this
order by personal service or otherwise, are ordered to cease
and desist from foreclosing or any other action regarding the
premises at 590 Truman Highway, Hyde Park, MA 02136

This order has been entered at A.M./P.M. on
February, 28, 2020 and shall expire in ten days from the date

 

 
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of this issuance (On March 9, 2020) unless it is extended for
a like period by consent of the parties or by further order of
this Court.

For good cause shown, the Court orders that
plaintiff is not required to give security for the issuance of
this Temporary Restraining Order.

Date: February 28, 2020

Judge,
Suffolk Superior Court

 

 

 
 

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Case 1:20-cv-10511-IT Document 1-1 Filed 03/12/20 Page 48 of 53

I
Commonwealth of Massachusetts

FOLK, 5S. TRIAL COURT OF THE COMMONWEALTH

SUPERIOR COURT DEPARTMENT

Li Biches civiL DocKeT NO. ZAbYS / aASSa

DQKfnor Be fehes~ , PLAINTIFF(S), |

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Onl ans c {@ C _, DEFENDANT(S)

 

SUMMONS .

THIS SUMMONS IS DIRECTED TO efeaane 5 fame Bs

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You are (are being sued sued. The Plaintiff(s) named above has started a lawsuit against you <Acopy ih th BQ

Plai ntiff's Complaint meas int filed against you is attached to this summons and the original casplaintthas been
in the Civudfy Court. YOU MUST ACT PROMPTLY TO PROTECEYOUR RIGE

file

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Wes oO
must respond ta this tawsuit in writing within 20 days. If you do’ not respond, tiisdourtenay-decde
case against you and award the Plaintiff everything asked’far in the complaint, vote aleo lastthe
prtunity to‘tell your side of the story. You must respond to this lawsuit in writing even iFYou expect
ssolve this matter ‘with the Plaintiff. tf you need more time to respond! you may request an
nsion of time in writing from the Court.

 

, How ta Respond. To respond td this lawsuit, you must file a written response with the court and mail a
copy to the Plaintiff's Attarney (or the Plaintiff, if unrepresented). You can do this by: -
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Filin

 
 

your signed original response “with the Clerk's Office for Civil Business! 1h Ahi © J 7 Court,

(address), by mail or In person, AND

Deliv ering or mailing a copy of your Tee to the he Plaintiff's Attorney/Plaintiff atthe following .

addyess: Hd Tiree, (fts/ Hyd

hk 4n4 OZ(3L,

What to include in your response, An “Answer” {5 one type of response to a Complaint. Your Answer
must state whether you'agree ar disagree with the fact(s) alleged in each paragraph of the Complaint.
Some defenses, called affirmative defenses, must be stated in your Answer or you may lose yaur right to
use them in court. If yau have any claims against the Plaintiff (referred to as counterclaims) that are
based onthe same facts or transaction described in the Complaint, then you must include those claims
in your Answer. Otherwise, you may lose your right ta sue the Plaintiff about anything related to this
laws it. If you want to have your case heard by a jury, yeu must specifically request a jury trial in your
Answer or ina written demand far a jury trial that you must send to the other side and file with the,

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no more than 10 days after sending your Answer. You can also respond to a Camplaint by filing a
tion ta Dismiss,” if you believe that the complaint i is legally invalid or legally insufficient. A Motion
i miss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12. If
are filing a Motion to Dismiss, you must also comply with the filing procedures for “Civil Motions”

‘ese in the rules of the Court in which the complaint was filed, available at

I vdamass. gov.courts/case-legal-res/rules of court.
Case 1:20-cv-10511-IT Document 1-1 Filed 03/12/20 Page 49 of 53

Lagal Assistance. You may wish to get legal help from a lawyer. If you cannot get legal oe basic
information for people wha represent themselves is available at srw ass Bou nse — the
Required information on all filings: The “civil docket number” appearing at the top o t is no oe
case number assigned.te this case and must appear on the front of your Answer or Motion to Dismiss.

You should refer to yourself-as the “Defendant.”

. . . .
Witness Hon. Judith Fabricant, Chief Justice on _ Byte UT , 20.2.

q. “
~ Mithdel Josepl¥Donovan .
Clerk-Magistrate

   

Nate: The number assigned ta the Complaint by the Clerk-Magistrate at the beginning of the lawsuit should be indicated on the

summons before ttis served on the Defendant,

PROOF OF SERVICE OF PROCESS

 

 

 

 

PROOF OF SERVICE
' hereby certify and return that | served a copy of the within summons, together with a copy of the complaint in this action upon the
within named defendant by: '

{
Nin hand service to: , nquesea Lavendeg, Sta C5
O Accepted by an adult mala/female over the age of 18 A oi

D Left at last & usual place of abcde --. PSQ0Es "Fy
& Copy mailed first class on: O Affidavit Disclosing Care c
To: _\S5  Fedeost Seek o Public Assistance Affidavit
O Track Assignment Notice
G Exhibits

DATE OF SERVICE: 63-02-20an o Financial Statement

a Affidavi

“A Other Plachbtrs Request Foe. Adkermssiong

 
 
     

r Custody Proceedings.

 

Signed under the penalties of perjury

 

Robert Sweeney

CONSTABLE & PROCESS SERVER Back’ & New are elon
Cy ‘

 

 

 

 
Case 1:20-cv-10511-IT Document 1-1 Filed 03/12/20 Page 50 of 53

Commonwealth of Massachusetts.

SUFROLK, SS. TRIAL COURT OF THE COMMONWEALTH
d, SUPERIOR COURT DEPARTMENT
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pl Tne Celekal __, PLAINTIFFS), |
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OCfantl Fez __, DEFENDANT(S) a

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SUMMONS 2 8 2a
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THIS SUMMONS {5S DIRECTED TO Q claw $ $ 1 . (Deferidant’s fame),
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You are heing sued. The Plaintiff(s} named show has started a lawsuit against you. Aedpy a Bethea
Plaintiff's Complaint filed against you is attached to this summons and the original coffiplaint ss hee bees ee
filed in the Si AEA {&s ty Court. YOU MUST ACT PROMPTLY TO pROTERIYOUICRIGINS

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You must respond to this lawsuit in writing within 20 days. If you do‘ not respond, the court Tray decide

the case against you and award the Plaintiff everything asked for in the complaint, You will also lose'the

opportunity to‘tell your side of the story. You must respond to this lawsuit in writing even if you expect
to resolve this matter ‘with the Plaintiff... lf you need more time to respond, you may request an

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extension of time In writing from the Court.
"How to Respond, To respond td this lawsuit, you must file a written response with the court ani mail a
copy to the Plaintiffs Attorney (or the Plaintiff, if unrepresented). You can do this by: -
. Filing your signed original response “with the Clerk's Office for Civil Business, c Court,
AAlfsh 209 (ecco by mail or in person, AND

Delivering or mailing a copy of your response to the he Plaintiff's Attorney/Plaintiff atthe following .
addtess: SG Titans hoot Hy detec Lid O26

What to includein your response. An “answer” i is one type of response to a Complaint. Your Answer
must state whether you'agree or disagree with the fact(s} alleged in each paragraph of the Complaint.
Some defenses, called affirmative defenses, must be stated in your Answerjor you may lose your right ta
use them in court. If you have any claims against the Plaintiff (referred to as counterclaims) that are
based onthe same facts or transaction described in the Complaint, then you must include those claims
in your Answer. Otherwise, you may Jose your right to sue the Plaintiff about anything related to this
law uit. ff you want to have your case heard by a jury, you must specifically request a jury trial in your
Answer or ina written demand for a jury trial that you must send to the other side and file with the
court no more than 10 days after sending your Answer. You can also respond to a Complaint by filing a
“Naotion to Dismiss,” if you believe that the complaint is legally invalid or legally insufficient. A Motion
to Dismiss must be based on one of the legal deficiencies or reasons listed under Mass. R. Civ. P. 12. If
you are filing a Motion to Dismiss, you must alse comply with the filing procedures for “Civil Motions”
described in the rules of the Court in which the complaint was filed, available at
wwiy.mass.gov.courts/case-legal-res/ rules of court.

 
 

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Case 1:20-cv-10511-IT Document 1-1 Filed 03/12/20 Page 51 of 53

Legal Assistance. You may, wish to get legal help from a lawyer. If you cannot get legal help, some basic
information for peaple who represent themselves ts available at www.mass.gov/courts/selfhelp.

Required information on all filings: The “civil docket number” appearing at the top of this notice is the
case number assigned,to this case anid must appear on the frent of your Answer or Motion to Dismiss.

You should refer to yourself-as the “Defendant.”

Witness Hon. Judith Fabricant, Chief Justice on Pe. f feet 7 Ur ; 20°20.

  

Mithdel {osept¥ Donovan
Clerk-Magistrate

Note: The number assigned to the Complaint by the Clerk-Magistrate at the beginning of the lawsuit should be indicated on the

summmans before itis served on the Defendant.

PROOF OF SERVICE OF PROCESS

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ereby certify and return that 1 served a copy of the within summons, together with a copy of the complaint in in this action upon the

within named defendant by:

a Accepied by an adult male/female over the age of 18

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To

In hand service to:

  

Left at last & usual place of abode
DO Affidavit Disclosing Care or Custody Proceedings

Copy mailed first class on:
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a\ af oO Track Assignment Notice

 

, 0 Exhibits

DATE OF SERVICE:__0 4-02. -an2a0 o Financial Statement

Signed under the penalties of perjury

o Affidavit
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Robert Sweeney
CONSTABLE & PROGESS SERVER Oe\ans re.
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Qos ; Belcher
Seu na§ Cle fer~ _, PLAINTIFF(S),

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Commonwealth of Massachusetts

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Off BAL fe ; DEFENDANT(S)

SUMMONS

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TO PROTECT YqUR RIGHTS.

 

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Case 1:20-cv-10511-IT Document 1-1. Filed 03/12/20 Page 52 of 53

TRIAL COURT OF THE COMMONWEALTH
SUPERIOR COURT DEPARTMENT

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(Defendants! name) _

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Case 1:20-cv-10511-IT Document 1-1 -Filed 03/12/20 Page 53 of 53

 

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Withael LosepH/Danovan
Clerk-Magistrate

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_ PROOF OF SERVICE OF PROCESS

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| i il hereby certify and return that | served a copy of the within summons, together with a copy of the complaint in this action upon the
iin named defendant by:

In hand service to: Nant S> DeCrencens fy y

      

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1 tt Accepted by an adult male/female over the age of 18 PMamhlNS “Lcthes¥

o Left at last & usual place of abode dearest “Foe. Prod . ks

a Copy We class on: a Affidavit Disclosing Care or Custody Proceedings

To: 6 Public Assistance Affidavit

\ o Track Assignment Notice
a Exhibits
DATE OF SERVICE: D3-O02.-30acy Oo Financial Statement

| Signed under the penalties of perjury

 

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Robert Sweeney

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